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February 5, 2025                                                                           Mark.Perry@weil.com




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Re: Epic Games, Inc. v. Apple Inc., No. 4:20-cv-5640 (N.D. Cal.)

Counsel:

This is a follow-up to our January 8, 2025 letter regarding Apple’s production of “Category Two”
documents. In that letter, we stated that all “Category Two” documents will be treated as “HIGHLY
CONFIDENTIAL – ATTORNEYS’ EYES ONLY” pursuant to the Amended Protective Order in effect
for this litigation (Dkt. 274). Epic has not responded to Apple’s letter, disputed Apple’s characterization
of the current posture, or proposed an alternative path forward.

We are currently finalizing the index that we stated we would provide that identifies all “Category Two”
documents now that Apple’s re-review has concluded. Once the Special Masters complete their review
and Magistrate Judge Hixson rules on all pending (and any forthcoming) objections to the Special Master
rulings, we will add documents to the index as warranted. This index will help ensure that the record is
clear if Epic seeks to introduce documents over which Apple maintains a claim of privilege once the
evidentiary hearing resumes.

In light of Apple’s express reservations of rights, Apple has not waived its privilege assertions over any
documents produced pursuant to the orders of the Court, including all “Category Two” documents.
Nevertheless, in an abundance of caution and to avoid any dispute about this issue in the future, in this or
any other forum, we request that Epic enter into the attached stipulation under Federal Rule of Evidence
502(d) providing that Epic’s or Apple’s use of any of the Category Two documents at the hearing, as well
as any use of documents that the Court has ordered produced notwithstanding objections to the Special
Master rulings, does not constitute a waiver of any applicable privilege or other protection. Please confirm
in writing that Epic will comply with this request by February 7, 2025.
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Gary Bornstein
Yonatan Even
February 5, 2025
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Sincerely,




Mark A. Perry
